        Case 1-18-42228-cec           Doc 9       Filed 05/04/18   Entered 05/04/18 10:14:35




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 In re:                                                       Chapter 11

 FMTB BH LLC,                                                 Case Nos.: 18-42228-cec

                                       Debtors.
 ---------------------------------------------------------X


                           NOTICE OF ADJOURNMENT OF 341(a) MEETING

         PLEASE TAKE NOTICE, that the 341(a) meeting of creditors scheduled for June 4,

2018 at 4:00 p.m. is adjourned to June 6, 2018 at 1:00 p.m. and will take place at 271-C

Cadman Plaza East, Suite 1595, Brooklyn, New York, 11201.

DATED:              New York, New York
                    May 4, 2018
                                                    ROBINSON BROG LEINWAND GREENE
                                                     GENOVESE & GLUCK P.C.
                                                    Proposed Attorneys for Debtor
                                                    875 Third Avenue, 9th Floor
                                                    New York, New York 10022
                                                    Tel. No.: 212-603-6300

                                                    By: /s/ Fred B. Ringel
                                                            Fred B. Ringel




{00930743.DOC;1 }
